                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF IOWA
                          CEDAR RAPIDS DIVISION



 UNITED STATES OF AMERICA,
               Plaintiff,                               No. CR 03-110 LRR
 vs.                                                           ORDER
 ARACELI MARTINEZ,
               Defendant.
                                ____________________


       Before the court is the Motion to Recuse (docket no. 200) filed by Defendant
Araceli Martinez. In the Motion to Recuse, Defendant asks the undersigned judge to
recuse herself because one of her law clerks, a former Special Assistant United States
Attorney, initiated the prosecution against Defendant. The United States of America has
filed a Resistance (docket no. 201). For the reasons expressed in the Resistance and
herein, the court denies the Motion to Recuse.
                                  I. BACKGROUND
       The facts are not disputed.    On October 14, 2003, the Grand Jury indicted
Defendant on a felony drug charge. Ms. Teresa Baumann, a Special Assistant United
States Attorney, presented the case to the Grand Jury, signed the indictment, and directed
the Clerk of Court to issue a warrant for Defendant. In the coming weeks, Ms. Baumann
represented the United States in the early pretrial phase of the prosecution, engaging in
plea negotiations and filing several pleadings, including a Resistance to a Motion to
Suppress Defendant filed. Ms. Baumann cross-examined Defendant at a hearing on the
Motion to Suppress.




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       On December 8, 2003, Assistant United States Attorney Daniel Tvedt entered an
Appearance. After AUSA Tvedt filed his appearance, Ms. Baumann did not make any
further appearances in the case for the United States. In January 2004, the court accepted
Defendant’s plea of guilty to the charge in the indictment.
       In February 2005, Defendant filed a Motion to Withdraw Guilty Plea, which she
later supplemented.
       In July 2005, the undersigned judge hired Ms. Baumann as an elbow law clerk.
Ms. Baumann was assigned to work on the court’s civil docket, as well as to perform any
ministerial duties that might arise. To forestall an appearance of impropriety from arising,
the court immediately screened Ms. Baumann from any substantive work on the court’s
criminal caseload.
       On August 9 and 10, 2005, the court held a hearing on Defendant’s efforts to
withdraw her guilty plea. Because the court’s courtroom-deputy position was temporarily
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vacant, Ms. Baumann filled the water jugs for counsel, placed phone calls to interpreters,
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and completed minute sheets for the proceedings over a two-day period. At the end of
the hearing, the court denied Defendant’s motion. The court also determined Defendant
was competent for sentencing. Sentencing was set for September 7, 2005.
       On September 2, 2005, Defendant filed the instant Motion to Recuse (docket no.
200). In such motion, Defendant asks the undersigned judge to recuse herself from the
upcoming sentencing. Defendant contends there is “an appearance of a conflict of interest,
in that the person who originally prosecuted the [D]efendant now serves as the sentencing

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         Due to a change in personnel, the court did not have a courtroom deputy for the
first two weeks of August.
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       A minute sheet lists the basic details of a hearing, such as the names of the parties,
the names of their attorneys, and what time the hearing started and ended.

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judge’s law clerk.” On September 6, 2005, the United States filed a Resistance to the
Motion to Recuse (docket no. 201).
                                     II. ANALYSIS
       Defendant relies upon 28 U.S.C. § 455(a) in support of her demand that the
undersigned judge recuse herself. That statute states:
              Any . . . judge . . . of the United States shall disqualify
              [her]self in any proceeding in which [her] impartiality might
              reasonably be questioned.
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28 U.S.C. 455(a).       The statute was intended “to promote public confidence in the
integrity of the judicial process.” Liljeberg v. Health Servs. Acquisition Corp., 486 U.S.
847, 859-60 (1988).
       “By enacting section 455(a), Congress sought to eradicate not only actual, but also
the appearance of impropriety in the federal judiciary.” Moran v. Clarke, 296 F.3d 638,
648 (8th Cir. 2002). It is irrelevant, then, whether the judge is actually biased; section
455(a) “sets an objective standard that does not require scienter.” Id. The Eighth Circuit
Court of Appeals therefore has “recast the issue as ‘whether the judge’s impartiality might
reasonably be questioned by the average person on the street who knows all the relevant
facts of a case.’” Id. (quoting In re Kansas Pub. Employees Ret. Sys., 85 F.3d 1353, 1358
(8th Cir. 1996)). The recusal decision is committed to the sound discretion of the district
court. Id.
       Neither party has presented the court with any cases precisely on point. Defendant
contends the case at bar is similar to cases in which a judge’s law clerk accepts an offer
of future employment with a party before the court, thereby creating an appearance of


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        In passing, Defendant also claims “due process” requires recusal, but does not cite
any authority in support of this claim.

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impropriety. See, e.g., Hall v. Small Bus. Admin., 695 F.2d 175, 179 (8th Cir. 1983).
Law clerks are “not merely the judge’s errand runners . . . [but rather] sounding boards
for tentative opinions and legal researchers who seek the authorities that affect decision.”
Id.
        It is important to recognize, however, that in this case the alleged conflict concerns
a law clerk’s prior—not future—employment. As the Eleventh Circuit Court of Appeals
has recognized:
               [A] law clerk has little incentive to influence a judge in an
               effort to curry favor with a former employer. Conversely, a
               law clerk has a financial incentive to benefit a future employer.
               Given this financial incentive, if ever a law clerk were of a
               mind to influence his judge, it would likely be for the benefit
               of a future rather than a former employer. Because precedent
               approves the isolation of a law clerk who has accepted future
               employment with counsel appearing before the court, it follows
               that isolating a law clerk should also be acceptable when the
               clerk’s former employer appears before the court.
               [W]e [also] note that a law clerk has no incentive to violate a
               court’s instruction that he isolate himself from the case and
               thereby subject himself to discharge. In this case, the district
               judge explained that, as a matter of course, he isolates law
               clerks from cases involving past or future employers. The
               obvious purpose of this procedure is to ensure that the
               appearance of partiality does not arise; as such, only a
               foolhardy law clerk would purposely circumvent the court’s
               instruction by attempting to pass on information about a case.

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Byrne v. Nezhat, 261 F.3d 1075, 1102 (11th Cir. 2001) (citations omitted).             The same



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        The court notes the Byrne court expressly distinguished Hall. Byrne, 261 F.3d
at 1102 n.62.

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principles apply here.

       Additionally, the Eleventh Circuit Court of Appeals has noted that the performance
of a law clerk’s “ministerial duties” were not sufficient to create the appearance of
impropriety. See Hunt v. Am. Bank & Trust Co., 783 F.2d 1011, 1016 (11th Cir. 1986).
Ms. Baumann’s only involvement in this case since joining the court’s staff was tangential
and purely ministerial. Ms. Baumann performed a few administrative courtroom tasks
during a two-week period in which the court was left without a courtroom deputy; as
indicated, she filled the water jugs for counsel and the undersigned, placed phone calls to
interpreters, and took minutes of the proceedings over a two-day period. These actions
in and of themselves do not warrant the undersigned’s recusal. This is especially true
when all the facts are known; a temporary personnel shortage required Ms. Baumann’s
presence in the courtroom during Defendant’s hearing.

       From the outset of her employment, the court has undertaken measures to screen
Ms. Baumann from the court’s criminal docket to avoid any appearance of impropriety.
Ms. Baumann was hired to work exclusively on the court’s civil caseload. Ms. Baumann
has not discussed the case at bar with the undersigned, nor has she worked on it. Ms.
Baumann has not and will not have any involvement whatsoever with the undersigned’s
decisions in the case. See Trammel v. Simmons First Bank of Searcy, 345 F.3d 611, 613
(8th Cir. 2003) (holding recusal not warranted where judge assured parties that law clerk
would not have “any involvement whatsoever” with the court’s handling of case). Her
mere presence in the chambers is not a sufficient reason for recusal. “A judge is not
necessarily forbidden . . . to do all that is prohibited to each of [her] clerks.” Hunt, 783
F.2d at 1015-16.     The court concludes “the average person on the street” would not




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reasonably question the undersigned’s impartiality because of Ms. Baumann’s former
employment.

                              III. CONCLUSION

      For the foregoing reasons, IT IS HEREBY ORDERED that Defendant’s
Motion to Recuse is (docket no. 200) is DENIED.

      SO ORDERED.

      DATED this 7th day of September, 2005.




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